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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 17-80242-CV-Hurley/Hopkins
                               (Criminal Case No. 14-80105-CR-Hurley)

   DANA E. TUOMI,

              Plaintiff,

   vs.

   UNITED STATES OF AMERICA


              GOVERNMENT’S ANSWER TO MOTION FOR COLLATERAL REVIEW

          The United States respectfully opposes Dana E. Tuomi’s motion for collateral review

  (D.E. 1).

          1On June 10, 2014, Tuomi was charged by information with two counts of bank robbery, in

  violation of 18 U.S.C. § 2113(a). Crim. D.E. 11. On August 7, 2014, he pled guilty to one of those

  counts. Crim. D.E. 22, 23.

          Under section 4B1.1 of the Sentencing Guidelines, a career offender is subject to certain

  enhancements to his offense level and criminal history category. in order to qualify as a career

  offender, among other things, the defendant must have two prior felony convictions for either a

  crime of violence or a controlled substance offense. U.S.S.G. § 4B1.1(a). Tuomi was sentenced on

  November 4, 2014. At that time, the Guidelines defined “crime of violence” as a felony that

          (1) has as an element the use, attempted use, or threatened use of physical force against the
          person of another, or
          (2) is burglary of a dwelling, arson, or extortion, involves use of explosives, or otherwise
          involves conduct that presents a serious potential risk of physical injury to another.

  U.S.S.G. § 4B1.2(a) (2014). Subsection (1) is generally known as the elements clause. The first half
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  of subsection (2) (“is burglary of a dwelling, arson, or extortion, involves use of explosives”) is known

  as the enumerated-crimes clause. The second half of subsection (2) (“or otherwise involves conduct

  that presents a serious potential risk of physical injury to another”), which has been removed from

  the guideline since Tuomi was sentenced, was known as the residual clause.

          On December 22, 2006 and again on July 20, 2012, Tuomi was convicted of the Florida

  offense of fleeing and eluding. Crim. D.E. 33 ¶¶ 54, 55. Based on these convictions, the presentence

  report concluded that Tuomi was a career offender. Crim. D.E. 27 ¶ 22. Tuomi did not object to

  this conclusion. As a career offender, Tuomi’s incarceration range was 151-188 months.

  Crim. D.E. 27 ¶ 92. The Court sentenced him to 132 months’ incarceration. Crim. D.E. 27 ¶ 31.

          On appeal, Tuomi argued for the first time that the residual clause of the career offender

  guideline was unconstitutionally vague. Crim. D.E. 44:4. The court of appeals rejected this

  argument and affirmed Tuomi’s conviction. Crim. D.E. 44:4-5.

          The Supreme Court denied Tuomi’s petition for a writ of certiorari on November 30, 2015.

  Tuomi v. United States, 136 S.Ct. 537 (2015). On December 16, 2015, Tuomi petitioned for

  reconsideration of the denial of his petition for certiorari. On February 29, 2016, the Supreme Court

  denied the petition for rehearing. Tuomi v. United States, 136 S.Ct. 1250 (2016). On February 27,

  2017, Tuomi filed the instant motion for collateral review, arguing that the residual clause of the

  career offender guideline is unconstitutional in light of Johnson v. United States, 135 S. Ct. 2551,

  2556 (2015).

          Johnson concerned the Armed Career Criminal Act of 1984 (“ACCA”), 18 U.S.C. 924(e). A

  conviction for possession of a firearm after conviction for a felony, in violation of 18 U.S.C.

  § 922(g)(1), ordinarily exposes the offender to a statutory maximum sentence of ten years’

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  imprisonment. See 18 U.S.C. § 924(a)(2). If, however, the offender has at least three prior

  convictions for a “violent felony” or a “serious drug offense,” then the ACCA requires a minimum

  sentence of 15 years of imprisonment and permits a maximum sentence of life imprisonment. See

  Logan v. United States, 552 U.S. 23, 26 (2007); Custis v. United States, 511 U.S. 485, 487 (1994). In

  addition, the Sentencing Guidelines include enhancements to an armed career criminal’s offense

  level and criminal history category. See U.S.S.G. § 4B1.4. The ACCA defines a “violent felony” to

  include

            any crime punishable by imprisonment for a term exceeding one year . . . that—(i) has
            as an element the use, attempted use, or threatened use of physical force against the
            person of another; or (ii) is burglary, arson, or extortion, involves use of explosives,
            or otherwise involves conduct that presents a serious potential risk of physical injury
            to another.

  18 U.S.C. 924(e)(2)(B). Like former section 4B1.2, section 924(e)(2)(B) included an elements clause,

  an enumerated-crimes clause, and a residual clause. In Johnson, the Supreme Court held that the

  ACCA's residual clause is unconstitutionally vague and, consequently, “imposing an increased

  sentence under the residual clause . . . violates the Constitution's guarantee of due process.” 135

  S. Ct. at 2563.

            As described above, Tuomi was held to be a career offender in light of two prior Florida

  convictions for fleeing and eluding law enforcement. In Sykes v. United States, 564 U.S. 1, (2015), the

  Supreme Court held that a similar Indiana statute did not qualify as a violent felony under the

  ACCA’s elements or enumerated crimes clause, but that it did qualify under the residual clause.

  Tuomi does not deny that, in light of Sykes, fleeing and eluding also qualified as a crime of violence

  under the residual clause of section 4B1.2(a) of the 2014 Guidelines. Rather, Tuomi argues that, in

  light of Johnson, the Guidelines residual clause is also void for vagueness. In his motion, Tuomi

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  recognized that the Eleventh Circuit held in United States v. Matchett, 802 F.3d 1185 (11th Cir.

  2015), that Johnson did not apply to the Sentencing Guidelines, and that, in light of Matchett, he

  would not be entitled to relief. But Tuomi asked the Court to stay ruling on his motion until the

  Supreme Court ruled in Beckles v. United States, No. 15-8544, which was then pending. Tuomi

  suggested that Beckles might abrogate Matchett, at which point he believed he would be entitled to

  resentencing. D.E. 1:6.

         Earlier today, the Supreme Court decided Beckles. The Court held that held that, because

  the advisory Sentencing Guidelines “merely guide the exercise of a court’s discretion in choosing an

  appropriate sentencing within the statutory range,” they “are not subject to a vagueness challenge

  under the Due Process Clause.” Beckles v. United States, ___ U.S. ___, No. 15-8544 (March 6, 2017),

  slip op. at 5. Beckles is dispositive of Tuomi’s motion, as Tuomi recognized it would likely be. Far

  from abrogating Matchett, Beckles confirmed its holding. Because Johnson has no bearing on the career

  offender guideline, and because Tuomi was sentenced only as a career offender, not as an armed

  career criminal, this Court should deny Tuomi’s motion.

                                                        Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on March 6, 2017, I will cause the foregoing to be filed

  electronically with the Clerk of the Court.


                                                 s/ Marc Osborne
                                                 Assistant United States Attorney
